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2    Attorney at Law
     P. O. Box 5622
3    Fresno, California 93755-5622
     559/248-9833
4
     Attorney for defendant Shirley Davidson
5

6
                  IN THE UNITED STATES DISTRICT COURT IN AND FOR
7
                          THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,            )           Case No. 1:12-cr-00168 AWI/DLB
10
                                          )
                                          )           STIPULATION TO CONTINUE STATUS
11
                        Plaintiff,        )           CONFERENCE HEARING, AND ORDER
                                          )           THEREON
12
     v.                                   )
                                          )           New Date: August 27, 2012
13
     SHIRLEY DAVIDSON, et al.,            )           Time: 1 p.m.
                                          )           Crtrm: 9 Hon. D. L. Beck
14
                        Defendants.       )
     ___________________________________ )
15

16          IT IS HEREBY STIPULATED by and between the parties hereto,

17   and through their respective attorneys of record herein, that

18   the Status Conference Hearing, in the above captioned matter,

19   scheduled for July 23, 2012 at 1:00 p.m., may be continued to

20   August 27, 2012, 1:00 p.m.

21          Counsel for defendant Shirley Davidson desires additional

     time to consult with her client, to review investigation
22
     Stipulation to Continue Status Conference Hearing, and Order Thereon;
23   U. S. v. Shirley Davidson, et al., Case No. 1:12-cr-00168 AWI/DLB                 1
     Case 1:12-cr-00168-DAD-BAM Document 16 Filed 07/20/12 Page 2 of 3


     materials and to enable defendant Shirley Davidson to obtain
1
2
     transportation to Fresno so she may be present for the hearing.
3           For purpose of computing time under the Speedy Trial Act,
4    18 U.S.C. §3161, et seq., within which trial must commence, the

5    time period of July 23, 2012 to August 27, 2012, inclusive, is

6    deemed excludable because it results from a continuance granted

7    by the Court at defendant’s request on the basis of the Court’s

8    finding that the ends of justice served by taking such action

9    outweigh the best interest of the public and the defendant in a

10   speedy trial.

11                 So stipulated.

12
     Dated: July 20, 2012                        /s/ Carolyn D. Phillips
13                                             CAROLYN D. PHILLIPS
                                               Attorney for Shirley Davidson
14
     Dated: July 20, 2012                      /s/ James Homola
15                                             JAMES HOMOLA
                                               Attorney for James Davidson
16

17   Dated: July 20, 2012                       BENJAMIN B. WAGNER
                                                United States Attorney
18

19                                       By:    /s/Grant B. Rabenn
                                                GRANT B. RABENN
20                                              Attorneys for the United States.

21

22
     Stipulation to Continue Status Conference Hearing, and Order Thereon;
23   U. S. v. Shirley Davidson, et al., Case No. 1:12-cr-00168 AWI/DLB             2
             Case 1:12-cr-00168-DAD-BAM Document 16 Filed 07/20/12 Page 3 of 3


1                                              ORDER
2

3
                           IT IS SO ORDERED.
4
                                                    Dated:   July 20, 2012       /s/
5    Dennis L. Beck
                                                    UNITED STATES MAGISTRATE JUDGE
6
     DEAC_Signature-END:




     3b142a
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     Stipulation to Continue Status Conference Hearing, and Order Thereon;
23   U. S. v. Shirley Davidson, et al., Case No. 1:12-cr-00168 AWI/DLB               3
